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        (USPS-ADS-0000183870)
        (USPS-ADS-0000196973)
             (Redacted)
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                                       All redactions proposed by
                                            the United States
                                     Additional information
                                  : covered by confidentiality
                                    objections of third parties
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